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     Federal Defender
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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 1:02-cr-05050-AWI-1

12                      Plaintiff,                     UNOPPOSED REQUEST TO EXTEND
                                                       DEADLINE FOR FILING RESPONSE;
13          v.                                         ORDER

14   EDUARDO PANO CANO,

15                      Defendant.                     Judge: Honorable ANTHONY W. ISHII

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s December 12, 2014 order be
18   extended to February 11, 2015. The undersigned is awaiting responses from Mr. Pano Cano.
19   Counsel for the government, Assistant U.S. Attorney Kathleen A. Servatius, graciously indicated
20   that she has no objection.
21   Dated: January 14, 2015
22                                                       Respectfully submitted,
23                                                       HEATHER E. WILLIAMS
                                                         Federal Defender
24

25                                                       /s/ David M. Porter
                                                         DAVID M. PORTER
26                                                       Assistant Federal Defender
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       Case 1:02-cr-05050-AWI Document 326 Filed 01/15/15 Page 2 of 2


 1
                                                ORDER
 2
            Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered
 3
     that the response to the Court’s order of December 12, 2014, may be filed on or before February
 4
     11, 2015.
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 6   IT IS SO ORDERED.
 7   Dated: January 15, 2015
 8                                              SENIOR DISTRICT JUDGE

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